
670 S.E.2d 233 (2008)
Florinda Childers JOHNSON, Individually and as Executrix of the Estate of Edward Gilbert Johnson, Sr.
v.
Edwin J. WALKER, Jr., and Walker &amp; Lambe, P.L.L.C.
No. 302P08.
Supreme Court of North Carolina.
December 11, 2008.
Cynthia L. Van Home, E. Fitzgerald Parnell, III, Charlotte, for Edwin Walker, et al.
David C. Pishko, Winston-Salem, for Johnson.
Brian O. Beverly, Raleigh, President, for NC Assoc. of Defense Attys.

ORDER
Upon consideration of the petition filed on the 26th day of June 2008 by Defendants in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:

*234 "Denied by order of the Court in conference, this the 11th day of December 2008."
